
23 N.Y.2d 976 (1969)
Mary K. Curtis, as Administratrix of The Estate of William D. Curtis, Deceased, Appellant,
v.
State of New York, Respondent. (Claim No. 43010.)
Court of Appeals of the State of New York.
Argued January 23, 1969.
Decided February 20, 1969.
John E. Mirch for appellant.
Louis J. Lefkowitz, Attorney-General (Donald D. Gulling, Jr., of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, KEATING, BREITEL and JASEN.
Order affirmed, without costs, on the opinion at the Appellate Division.
